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                      EXHIBIT C
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         Exemplary Chart for U.S.Patent No. 11,744,256^ for Defendant No.9 Yuan Hang Trade A1PN1D90H62TDY

 The primary elements ofclaim 1 (copied fully below in the left column ofthe chart) are:
    •   Fuel Chamber Portion
    • Conduit Portion
    • Floor
    •   Channel
    • Aperture extends from channel through a wall of Conduit Portion

 There are no limitations in the claims for the size, shape, or orientation ofthe fuel chamber portion, conduit portion, wall in conduit
 portion, or aperture through a wall ofthe conduit portion, except that the conduit portion is disposed below the floor.

 The following diagram is an exemplary mock-up in cross-section ofthe type of defendant's smoker product design, with
 identification ofthe claim elements. Claims elements are also shown in the chart below using images of Defendant's product.




^ Plaintiff provides this exemplary claim chart for the purposes ofshowing one basis of infringement of one ofthe claims ofthe
11,744,256 patent by Defendant's accused products as defined in the complaint. This exemplary claim chart addresses the Accused
Products broadly based on the fact that the Accused Products infringe in the same general way. Plaintiff reserves the right to amend
and fully provide its infringement arguments and evidence thereof until its Preliminary and Final Infringement Contentions are later
produced according to the court's scheduling order in this case.
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                                                        Channel




                                                                                              Fuel Chamber
                                                                                                 Portion


                                                                                              Conduit Portion




                                                         Aperture


                                                           Claim

A device      I The Amazon.com sellers page lists a product for sale under ASIN B0CGHH75WL is a "Cocktail Smoker Kit with
                Torch ...6 Wood Chips Flavors" which is a device for imparting smoked flavors to beverages and foodstuffs.

smoked
flavors to
beverages
and
foodstuffs,
comorisin
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                                                                        Whiskey Smoker Kit,Cocktail Smoker Kit with
                                                                        Torch,Bourbon Smoker Kit,Old Fashioned                                               One-Oay
                                                                        Smoker Kit,Drink Smoker Infuser Kit,Bourbon                                  FREE Returns


                                                                        Gifts for Men,Dad,Husband,Birthday Gift                                      FREE tiellvery Tomorrow,June
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                                                                        ldeas(Without Butane)
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                                                                          $200 Amazon Gift Card upon approval for the Amazon Business Ihfme Cartl
                                                                          Terms apply. Learn more

                                                                        Bundles with this Item

                                  RoU ovtr lni*ge to zoom In



                                                                                                                                                     O Add a        receipt for easy
                                                                                                                                                        returns
                                                                        Cocktail Smoker Kit and Cocktail Smoker Kit and
                                                               tvBiei   CIgarAshtray                 OgarAshtray
                                                                        -31«!'aS38,98                •31% $38.96




abase      The "Cocktail Smoker" is a "base" unit that has a fuel chamber at the upper end that can hold wood chips:
having a
fuel
chamber
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portion at
its upper
end and
                                                       fuel chamber portion




a conduit    The Cocktail Smoker has an element protruding at the bottom of the base that is a conduit portion.
portion at
its lower
end,




                                                                              conduit portion




the fuel     The fuel chamber for the Cocktail Smoker has a wall. The wall defines a perimeter of the fuel chamber portion. The
chamber      fuel chamber for the Drink Smoker has a floor of the fuel chamber portion that extends from the wall to an opening in
portion      the floor.
comprising
an upper
wall
 ortion
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defining a
perimeter
edge of the
fuel
chamber
portion and
a floor
defining a
bottom end,              Opening
the floor
extending
from the
upper wall                         upper wall
portion to
an opening
in the floor
wherein the    The fuel chamber of the Cocktail Smoker is oriented to hold wood chips for burning. In the instructions on the
fuel           storefront page, the seller shows the consumer how to place the device on a glass and add wood chips in the fuel
chamber        chamber for burning with a torch.
portion is
oriented to
hold fuel,     1 Place the wood chimney on tof
and            of your cocktail glass and add In
               your favorite wood 1 chip flavor


wherein the The conduit portion of the Cocktail Smoker is oriented below the floor of the fuel chamber,
conduit
portion is
disposed
below the
floor
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                                                                                   Conduit portion below floor of
                                                                                   fuel chamber




and           The channel through the conduit of the Cocktail Smoker is shown on the seller's webstore.
comprises a
channel                                          I Channel       I
through the
conduit
portion




so that,      The conduit portion of the Cocktail Smoker has at least one hole, or aperture, in its wall that leads to the channel:
when the
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                                                  Aperture




             The instructions demonstrate that when the fuel in the fuel chamber is ignited by a blow torch, the smoke from the
             ignited fuel flows down from the fuel chamber,through the channel, and out at least one aperture in the conduit into
             the drinking glass.

                                                                                         Place wood chips
                                                                                         fuel into chamber


space        1 Place the wood chimney on top
through a    of your cocktail glass and add In
wall ofthe   your favorite wood> chip flavor
conduit
portion
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                              2.Light the wood chips with torch
                 a®           for a few seconds




                      Ignite the wood
                      chips with
                      a torch and create
                      smoke




                                             Smoke flows down,
                                             not up, through the
                                             channel in the conduit
                                             and out at least one
                                             aperture in the
                                             conduit
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